USCA11 Case: 24-10880    Document: 25-1     Date Filed: 08/22/2024   Page: 1 of 5




                                                  [DO NOT PUBLISH]
                                   In the
                United States Court of Appeals
                        For the Eleventh Circuit

                          ____________________

                                No. 24-10880
                          Non-Argument Calendar
                          ____________________

       UNITED STATES OF AMERICA,
                                                      Plaintiﬀ-Appellee,
       versus
       DEDRICK D. SIRMANS,


                                                  Defendant-Appellant.


                          ____________________

                 Appeal from the United States District Court
                      for the Middle District of Georgia
                 D.C. Docket No. 5:23-cr-00035-MTT-CHW-1
                           ____________________
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       2                      Opinion of the Court                  24-10880


       Before WILSON, ROSENBAUM, and LUCK, Circuit Judges.
       PER CURIAM:
               Dedrick Sirmans appeals his conviction for operating an air-
       craft eligible for registration knowing that the aircraft is not regis-
       tered to facilitate a controlled-substance offense, in violation of 49
       U.S.C. § 46306(b)(6). Sirmans argues on appeal that the district
       court plainly violated Rule 11, Fed. R. Civ. P., by failing to ensure
       during the guilty-plea colloquy that he understood that, to be con-
       victed under that statute, it was necessary for the government to
       prove that he knew that he was required to register his drone.
               When a defendant fails to object to a Rule 11 violation in the
       district court, we review for plain error. United States v. Monroe, 353
       F.3d 1346, 1349 (11th Cir. 2003). “Under plain-error review, the de-
       fendant has the burden to show that ‘there is (1) error (2) that is
       plain and (3) that aﬀect[s] substantial rights.’” Id. (internal quota-
       tion marks omitted) (alteration in original) (quoting United States v.
       Lejarde-Rada, 319 F.3d 1288, 1290 (11th Cir. 2003)). “‘If all three
       conditions are met, an appellate court may then exercise its discre-
       tion to notice a forfeited error, but only if (4) the error seriously
       aﬀect[s] the fairness, integrity, or public reputation of judicial pro-
       ceedings.’” Id. (internal quotation marks omitted) (alteration in
       original) (quoting Lejarde-Rada, 319 F.3d at 1290).
              To satisfy the second prong of the plain-error standard, an
       error “must be so clearly established and obvious ‘that it should not
       have been permitted by the trial court even absent the defendant’s
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       24-10880               Opinion of the Court                          3

       timely assistance in detecting it.’” United States v. Hesser, 800 F.3d
       1310, 1325 (11th Cir. 2015) (quoting United States v. Prieto, 232 F.3d
       816, 823 (11th Cir. 2000)). “When ‘the explicit language of a statute
       or rule does not speciﬁcally resolve an issue, there can be no plain
       error where there is no precedent from the Supreme Court or this
       Court directly resolving it.’” United States v. Castro, 455 F.3d 1249,
       1253 (11th Cir. 2006) (quoting United States v. Chau, 426 F.3d 1318,
       1322 (11th Cir. 2005)). “[A] close call is not enough for [a defendant]
       to prevail on plain error review.” United States v. Kushmaul, 984 F.3d
       1359, 1367 (11th Cir. 2021).
               Under Rule 11, Fed. R. Crim. P., a district court must specif-
       ically determine that a defendant pleading guilty understands “the
       nature of each charge to which the defendant is pleading.”
       Fed. R. Crim. P. 11(b)(1)(G). And in determining that a defendant’s
       guilty plea is knowing and voluntary, the district court must con-
       duct a plea colloquy to ensure that the three core concerns of Rule
       11 are met: “(1) the guilty plea must be free from coercion; (2) the
       defendant must understand the nature of the charges; and (3) the
       defendant must know and understand the consequences of his
       guilty plea.” United States v. Freixas, 332 F.3d 1314, 1318 (11th Cir.
       2003) (quotation omitted). The former Fifth Circuit in United States
       v. Dayton, on review of a former version of Rule 11, concluded,
       among other things, that a district court’s failure to address any one
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       4                         Opinion of the Court                      24-10880

       of Rule 11’s core concerns “requires automatic reversal.” United
       States v. Dayton, 604 F.2d 931 (5th Cir. 1979) (en banc). 1
               A person violates § 46306(b) if he “knowingly and willfully
       operates or attempts to operate an aircraft eligible for registration
       . . . knowing that . . . the aircraft is not registered.” 49 U.S.C.
       § 46306(b)(6)(A). The penalty for a violation of § 46306(b)(6) must
       be enhanced “if the violation is related to transporting a controlled
       substance by aircraft or aiding or facilitating a controlled substance
       violation.” Id. § 46306(c)(2).
               Here, the court sufficiently determined that Sirmans under-
       stood the nature of the charge to which he pled. During the
       change-of-plea hearing, the government stated that, “[t]o prove
       this offense, the government would have to prove first that the de-
       fendant knowingly and willfully operated or attempted to operate
       an aircraft eligible for registration under this Title; second, that he
       knew the aircraft was not registered as required; third, that said op-
       eration related to the transportation of a controlled substance by
       aircraft or aiding or facilitating a controlled substance violation;
       and that the transportation, aiding, or facilitation is a felony con-
       trolled substance offense under state or federal law.” The court
       then asked, “Mr. Sirmans, did you understand that?” And Sirmans




       1 All Fifth Circuit decisions issued by the close of business on September 30,

       1981, are binding precedent in this Court. Bonner v. City of Prichard, 661 F.2d
       1206, 1207 (11th Cir. 1981) (en banc).
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       24-10880               Opinion of the Court                          5

       replied, “Yes, sir.” Then the court asked Sirmans, “Do you have
       any questions about the charge?” And Sirmans said, “No sir.”
              It is doubtful that error occurred here. As the transcript
       shows, the government informed Sirmans during the plea colloquy
       that it was necessary for the government to prove that Sirmans
       knew that he was required to register his drone. The government
       did this when it said that it “would have to prove . . . that [Sirmans]
       knew the aircraft was not registered as required.” Sirmans said he un-
       derstood and had no questions about that.
              But even assuming any error occurred, any error was not
       plain. Neither the plain language of § 46306(b)(6) nor any of our or
       the Supreme Court’s precedents explicitly compel his interpreta-
       tion of the statute, see Castro, 455 F.3d at 1253.
              AFFIRMED.
